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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:07CR30
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
THIRUGNANAM RAMANATHAN,                            )
                                                   )
                     Defendant.                    )


       This matter is before the court on the government’s motion for a continuance of trial
(Filing No. 49) and the motion of the defendant, Thirugnanam Ramanathan (Ramanathan),
for an immediate trial setting (Filing No. 48).
       The Speedy Trial Act generally requires that the trial of a defendant charged by
indictment “shall commence within seventy days from the filing date (and making public)
of the . . . indictment, or from the date the defendant has appeared before a judicial officer
of the court in which such charge is pending, whichever date last occurs.” 18 U.S.C §
3161(c)(1). Section 3161(h)(8)(A) of the Speedy Trial Act allows the court to grant a
continuance if the court does so based on its “findings that the ends of justice served by
taking such action outweigh the best interest of the public and the defendant in a speedy
trial.” The statute also lists factors the court shall consider in determining whether to grant
a continuance, including “[w]hether the case is so unusual or so complex, due to . . . the
nature of the prosecution, or the existence of novel questions of fact or law, that it is
unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself
within the time limits established by this section.” 18 U.S.C. § 3161(h)(8)(B)(ii).
Additionally, the statue recognizes that delay due to outstanding treaty requests for
evidence from foreign countries can be a legitimate basis for a continuance. 18 U.S.C. §
3161(h)(9).
       In consideration of the Government’s motion for a trial setting in six months and the
defendant’s request for an immediate trial, the court finds that a continuance is warranted.
The financial and technological sophistication of the fraudulent scheme in this case, as well
as the location of much of the evidence in foreign countries which increases the logistical
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complications in presenting the evidence, among other things, warrants a finding by this
court that this is a complex case pursuant to 18 U.S.C. § 3161(h)(8)(B)(ii). For these
reasons, the court finds that it is unreasonable to expect adequate preparation for pretrial
proceedings or for trial itself within the time limits established under the Speedy Trial Act
and that the ends of justice are served by allowing for a continuance here.
       Moreover, the court finds by a preponderance of the evidence that official requests
to Hong Kong and Thailand have been made for evidence that support the charges in this
case, and it reasonably appears that such evidence is in those foreign countries, or was
in those foreign countries at the time those requests were made, and warrants the delay
sought by the government pursuant to 18 U.S.C. § 3161(h)(9).


       IT IS ORDERED:
       1.     The government’s motion for a continuance of trial (Filing No. 49) is granted.
       2.     The defendant’s motion for an immediate trial setting (Filing No. 48) is denied.


       IT IS FURTHER ORDERED:
       Trial of this matter is continued to February 5, 2008, before Judge Laurie Smith
Camp and a jury. The time between July 17, 2007 and February 5, 2008, shall be
excluded under the Speedy Trial Act. The court finds that the ends of justice served by
taking such action outweigh the best interest of the public and the defendant in a speedy
trial. In addition, pursuant to 18 U.S.C. §§ 3161(h)(8) and 3161(h)(9), the court finds that
the time between July 17, 2007 and the trial date is properly excludable.


       IT IS FURTHER ORDERED:
       On or before November 19, 2007, the government shall file a report of the status
of the MLAT requests to Hong Kong and Thailand.
       DATED this 17th day of September, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge




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